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                                               Share of Active Devices That Are Premier Tier or MIA Devices,
                                                                        United States
                                                                                  November 16, 2021
                                            Non-RSA 3.0 Premier or MIA              RSA 3.0 Premier or MIA                                                      Share of active devices
OEM Partner                                                                                                                  All active devices
                                                  active devices                        active devices                                                    that are RSA 3.0 Premier or MIA

Lenovo                                                             11,488,425                            4,653,045                           16,141,470                                28.8%
OnePlus                                                             1,312,010                            1,996,785                            3,308,795                                60.3%
LGE                                                                17,962,593                              615,802                           18,578,395                                 3.3%
Xiaomi                                                                644,516                              217,323                              861,839                                25.2%
Oppo                                                                  523,763                              128,217                              651,980                                19.7%
Blu                                                                   565,339                              161,273                              726,612                                22.2%
HMD                                                                   541,209                               88,811                              630,020                                14.1%
Vivo                                                                  469,772                               45,404                              515,176                                 8.8%
TCL                                                                 5,274,297                                    0                            5,274,297                                 0.0%
Transsion                                                             533,879                                    0                              533,879                                 0.0%

Sharp                                                                   4,346                                   174                               4,520                                 3.8%
ZTE                                                                 1,844,793                                     0                           1,844,793                                 0.0%
Vinsmart                                                              289,167                                     0                             289,167                                 0.0%
Samsung                                                           101,898,284                                     0                         101,898,284                                 0.0%
Others                                                             20,307,543                                     0                          20,307,543                                 0.0%
All Devices                                                      163,764,523                            7,921,899                          171,686,422                                  4.6%

Notes:
[1] OEM partners are listed in the order in which Dr. Bernheim did in Figure 36, with the exception of Samsung and “Others” (which comprise all other OEM partners not listed in this table).
[2] Category “Non-RSA 3.0 Premier or MIA active devices” includes all active devices that are not RSA 3.0 Premier or MIA active devices. For example, actives covered under a RSA that does
not include Premier Tier terms, and actives that are not covered by an RSA or MIA are both included in this category.
[3] Consistent with Dr. Bernheim’s methodology, active devices for LGE and Lenovo with an “RSA_scope” of “RSA Carrier + RSA3 OEM Premier” or an “rsa_type” of “RSA3 OEM” were
considered “RSA 3.0 Premier or MIA active devices” for this analysis.
[4] Observations with inconsistent values are cleaned to produce conservative results. Active devices with an “RSA_scope” of “RSA Carrier + RSA3 OEM Premier” but “is_premier” equals
“FALSE” are treated as “RSA 3.0 Premier or MIA active devices” for this analysis. Active devices with (i) no RSA but “is_premier” equals “TRUE,” and (ii) “rsa_type” equals “RSA2 OEM
Only” and “is_premier” equals “TRUE” are retained in the data as reported. Active devices with missing “RSA_scope” and “is_premier” equals “FALSE” are excluded from this analysis.
Counts of actives for “RSA 3.0 Premier or MIA active devices” differ from Dr. Bernheim’s Figure 36 as a result.
[5] Google devices are considered non-RSA 3.0 Premier or MIA active devices in the data. If they are removed from the data, the share of active devices that are RSA 3.0 Premier or MIA is 4.8
percent in the United States. If Google devices are considered RSA 3.0 Premier or MIA, the share is 8.2 percent in the United States.

Source: Bernheim Production Materials (“RSA tier active devices.dta”).




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